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           In the United States Court of Federal Claims
                                        Case No. 02-197C
                                        Filed: June 8, 2007
                                       FOR PUBLICATION

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ADVANCED TEAM CONCEPTS, INC. *
                             *
               Plaintiff,    *                                Motion for Summary Judgment;
                             *                                Motion for Clarification;
                             *                                Damages; Christian Doctrine
  v.                         *
                             *
                             *
THE UNITED STATES,           *
                             *
               Defendant.    *
**********************

Charles H. Steen, Dallas, Texas, for Plaintiff.

Steven M. Mager, Trial Attorney, Jeanne E. Davidson, Acting Director, and Deborah A. Bynum,
Assistant Director, Commercial Litigation Branch, Civil Division, and Peter D. Keisler, Assistant
Attorney General, United States Department of Justice, Washington, D.C., for Defendant.

                                     OPINION and ORDER

SMITH, Senior Judge.

        This case is before the Court on Defendant’s Motion for Clarification of the Court’s Liability
Opinion and Plaintiff’s Motion for Summary Judgment on Damages and Response to the
Government’s Motion for Clarification. Previously, the Court granted partial summary judgment
for Plaintiff, Advanced Team Concepts (“ATC”), finding that there was an implied-in-fact contract
for the 2001 academic year.1 The Court further granted partial summary judgment for Defendant.


       1
          Advanced Team Concepts, Inc. v. United States, 68 Fed. Cl. 147, 151 (2005). To this
point, the terms “academic year” and “fiscal year” have been used interchangeably by the parties
and the Court. To alleviate any confusion, the Court defines both time periods as running from
October thru September. This clarification applies to this Opinion and the Court’s Opinion and
Order of September 28, 2005 (“Liability Opinion”). Therefore, the 2001 academic year ran from
October 1, 2000 thru September 30, 2001, and October 1, 2001 began the 2002 academic year.

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This was based on the finding that there was no implied-in-fact contract for the 2002 academic year
between Plaintiff and the national customer service training facility for the Immigration and
Naturalization Service, the Leadership Development Center (“LDC”). Following the Court’s
Liability Opinion, the Government filed a Motion for Clarification. In response, ATC filed a Motion
for Summary Judgment on Damages and Response to the Government’s Motion for Clarification.
Reply briefs were filed and oral argument was held. However, the Court reserved judgment and
ordered additional briefing on the issue of damages. Thereafter, the parties submitted supplemental
motions for summary judgment and oral argument was again held. The Court has considered these
motions and filings in finding the following.

        It is apparent to the Court that in order to determine the damages portion of this litigation two
questions must be answered. The first question is how many canceled classes were covered by the
implied-in-fact contract between ATC and LDC. ATC argues that it should be compensated for a
total of twenty-eight classes that had been scheduled and thereafter canceled by LDC, minus
mitigation. The Government argues that only eighteen of the twenty-eight classes were scheduled
for the 2001 academic year, the point at which the Court severed liability in its previous opinion.
The Government further argues that under the Christian Doctrine, ATC should be awarded damages
for no more than seven of the eighteen classes. The Court, however, finds that ATC is entitled to
recover for all eighteen classes canceled during the 2001 academic year. Therefore, the Court
GRANTS IN-PART Plaintiff’s Motion for Summary Judgment on Damages and GRANTS, to the
extent stated in this Opinion, Defendant’s Motion for Clarification.

       The second question is whether a genuine issue of material fact exists sufficient to prevent
the award of monetary damages to ATC under the summary judgment standard. With regard to the
amount of damages to be awarded, the Court shall DEFER its ruling at this time.


                                               FACTS2


        On April 3, 2000, LDC Director Jennifer Lee assigned the 2001 academic year classes to
ATC. Pl. App. 142-44, 248. Later, on July 6, 2000, Director Lee sent an email to ATC checking
dates for ten additional classes beyond the 2001 academic year and into the first quarter of the 2002
academic year. Id. at 143, 258. Director Lee retired on November 3, 2000 and was subsequently
replaced by Lyle Langton. Id. at 273, 304, 307, 432. Three weeks later, Director Langton informed
ATC that it would be terminated from teaching its seven remaining writing classes on the 2001
academic year schedule. Id. at 131, 367. LDC did not cancel the classes, only ATC’s participation




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          A complete recitation of the facts can be found in the Court’s Liability Opinion. The
facts contained herein are most relevant to the present issue of damages.

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in them.3 Id. at 129, 131. Director Langton also canceled an additional eight sections (eleven classes
total) without rescheduling them as former Director Lee had done previously. Pl. Compl. ¶ 134; Pl.
App. 126; Pl. Suppl. Br. Hrg. Ex.

        On June 27, 2001, Director Langton circulated the class schedule for academic year 2002,
prefacing it with an email informing its vendors that LDC was assessing its courses with the
potential to change course content and delivery. Pl. App. 429, 435. Director Langton further
informed the vendors that he would contact them when he finished the review. Id. Finally, on
September 14, 2001, Director Langton informed ATC that LDC would not be utilizing its services
for the remainder of academic year 2001 and 2002. Id. at 99, 131, 156, 425.


                                           DISCUSSION


        In the Liability Opinion, the Court held that an implied-in-fact contract existed between ATC
and LDC for the 2001 academic year. The Court further found that an implied-in-fact contract did
not exist for the 2002 academic year. Therefore, the Court must now focus its attention on the
amount of damages ATC may recover as a result of LDC’s breach of the implied-in-fact contract.
ATC filed its Motion for Summary Judgment on Damages pursuant to RCFC 56. Summary
judgment is appropriate where there is no genuine issue of material fact and the moving party is
entitled to a judgment as a matter of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

         The Government contends that ATC is not entitled to summary judgment because there still
remains a question of fact with regard to the amount of damages to be awarded. The Government
further contends that ATC has not provided sufficient evidence with regard to any additional costs
incurred, costs avoided, or mitigation of damages. Additionally, the Government asserts that ATC
is entitled to recover damages for no more than seven classes. At this time the Court is inclined to
agree with the Government with regard to summary judgment on the amount of damages to be
awarded, because more evidence appears to be necessary. However, the Court finds that it can
determine the number of classes ATC is entitled to under the contract. That number is eighteen.

1. Eighteen Classes Covered by Implied-In-Fact Contract

        ATC requests damages for twenty-eight classes scheduled by former Director Lee which
were subsequently canceled by Director Langton. Pl. App. 131, 248, 258. Eighteen of those classes
were scheduled for the 2001 academic year. Id. at 131, 248. The remaining ten classes were
tentatively scheduled for the first quarter of the 2002 academic year. Id. at 131, 258. ATC argues
that because the ten additional classes were originally scheduled for the end of the 2001 calendar



       3
          Retired Director Lee, and her new firm, Giraffe Consultants, took over those courses.
Id. at 307, 425.

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year by former Director Lee, these classes should be included in the calculation of damages. Pl. Mot.
S.J. on Damages at 3 (citing Pl. App. 258); Hrg. Tr. 15-17 (Oral Argument May 22, 2007) (“Tr.”).

        The Government argues that ATC cannot recover damages for the ten additional classes
because the Court’s Liability Opinion severed liability at the end of the 2001 academic year, which
ended September 30, 2001. The Government further contends that the act of setting a tentative
schedule for the first quarter of the following year was not a long standing practice under former
Director Lee and not all communications between LDC and ATC constituted a contract. Def. Resp.
to Pl. Mot. S.J. at 10; Tr. 23-26. The Court agrees. It is clear that the additional ten classes are not
compensable because they were not scheduled to occur during the 2001 academic year and were
tentative. Pl. App. 258 (July 6, 2000 Email from Director Lee to ATC tentatively scheduling class
dates for the remainder of the 2001 calendar year). So the question is, of the remaining eighteen
classes, how many may ATC recover damages for?

         The Government contends that, pursuant to the Christian Doctrine, ATC should only be able
to recover damages for seven of the eighteen classes that were canceled. The Government further
contends that the Liability Opinion was vague with regard to whether ATC can recover damages for
the remaining eleven classes, in light of the Christian Doctrine. Thus, the Government seeks
clarification as to whether the Christian Doctrine applies to these additional eleven classes. Under
the Christian Doctrine, a termination for convenience clause must be read into any government
contract. G. L. Christian & Assocs. v. United States, 312 F.2d 418, 426 (Ct. Cl. 1963). As with any
government contract, express or implied, the government enjoys the ability to terminate a contract
for its convenience, absent bad faith on the part of the government. Krygoski Constr. Co. v. United
States, 94 F.3d 1537, 1541 (Fed. Cir. 1996). Accordingly, the Government argues that the
remaining eleven classes fall within the Christian Doctrine and ATC should not recover damages
for those classes.

         With regard to the eleven additional classes canceled by Director Langton during the 2001
academic year, the Government asserts that these classes were canceled for reasons unrelated to the
seven subsequently taught by former Director Lee. Those reasons included low student enrollment
and the September 11, 2001 terror attacks. Pl. App. 125-26, 159-60, 341, 424. The Government
contends that ATC has not produced any evidence of bad faith other than the fact that the canceled
classes where not rescheduled, which alone does not amount to bad faith. Tr. 33-34. Thus, the
Government asserts that the Christian Doctrine should apply to the remaining eleven classes.
However, these additional reasons provided by the Government do not save its Christian Doctrine
argument. ATC is seeking damages because its classes were canceled and not rescheduled, not
because of the reason why they were canceled. Under former Director Lee, the prior practice of the
LDC contract was to reschedule classes, regardless of the reason why they were canceled. This was
part of the implied-in-fact contract. It seems clear that the elimination of ATC for replacement by
an “insider” was the bad faith that produced the breach. Director Langton could not allow ATC to
teach the other eleven classes because then it would be obvious that the seven were taken away in
bad faith and given to an insider. The result was the permanent cancellation of eighteen classes, not
seven. Therefore, the Christian Doctrine does not apply and ATC is entitled to recover damages for
all eighteen classes that were previously contracted for and ultimately canceled.

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2. Monetary Damages

        “Both the existence of lost profits and their quantum are factual matters that should not be
decided on summary judgment if material facts are in dispute.” Holland v. United States, 75 Fed.
Cl. 483, 489 (2007) (citing Cal. Fed. Bank, FSB v. United States, 245 F.3d 1342, 1350 (Fed. Cir.
2001)). Here, it appears that some facts are still in dispute with regard to the amount of monetary
damages suffered by ATC. At oral argument, the parties agreed that once the number of recoverable
classes was determined, a settlement might be possible with regard to the amount of damages. Thus,
because the Court has determined the number of recoverable classes, the Court shall defer its ruling
until such time as the parties are able to confer and possibly stipulate to the amount of damages.


                                         CONCLUSION


       Therefore, after careful review and consideration, the Court GRANTS IN-PART Plaintiff’s
Motion for Summary Judgment on Damages. The Court further GRANTS, to the extent stated in
this Opinion, Defendant’s Motion for Clarification. The Court finds that for academic year 2001,
ATC is entitled to recover damages for eighteen canceled classes. With regard to the amount of
damages to be awarded, the Court shall DEFER its ruling at this time. The parties are directed to
confer regarding the need for trial or possible settlement as to this issue and a telephone status
conference call shall be scheduled.


       IT IS SO ORDERED.




                                                             s/Loren A. Smith
                                                             LOREN A. SMITH
                                                             Senior Judge




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